 Case 3:11-md-02244-K Document 817 Filed 12/01/17                   Page 1 of 3 PageID 30715



                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

------------------------------------------------------
IN RE: DEPUY ORTHOPAEDICS, INC.
PINNACLE HIP IMPLANT PRODUCT                                          MDL NO.: 3:11-MD-2244-K
LIABILITY LITIGATION                                                  CASE NO.: 3:11-cv-01597
------------------------------------------------------
This applies to:

DONNIE ORTIZ,


                           Plaintiff.
------------------------------------------------------

                              MOTION TO WITHDRAW AS COUNSEL

         Pursuant to Local Rule 83.12, The Lanier Law Firm and Franklin D. Azar & Associates

PC hereby move to withdraw as counsel for the Plaintiff Donnie Ortiz.

         Plaintiff will continue to be represented by Jere Kyle Bachus of the law firm, Bachus &

Schanker LLC. Undersigned counsel certifies that Plaintiff and the attorneys of Bachus &

Schanker LLC have been notified of this Motion to Withdraw and Bachus & Schanker LLC has

agreed to continue to represent Plaintiff to the conclusion of this suit, such that Plaintiff will not

be prejudiced by this withdrawal.

                                  CERTIFICATE OF CONFERENCE

         Undersigned counsel certifies that counsel for Defendants has been notified of the filing

of this motion and does not object to the withdrawal of The Lanier Law Firm and Franklin D.

Azar & Associates PC from this matter.
Case 3:11-md-02244-K Document 817 Filed 12/01/17     Page 2 of 3 PageID 30716



Dated: December 1, 2017                  Respectfully submitted,


                                         By: /s/ W. Mark Lanier
                                         W. Mark Lanier
                                         THE LANIER LAW FIRM
                                         6810 FM 1960 Rd West
                                         Houston, TX 77069
                                         Telephone:   713.659.5200
                                         Fax:         713.659.2204
                                         E-mail: wml@lanierlawfirm.com


                                         Tonya Melnichenko
                                         FRANKLIN D. AZAR
                                         & ASSOCIATES
                                         14426 East Evans Avenue
                                         Aurora, CO 80014
                                         Telephone:   303.757.3300
                                         Fax:         303.759.5203
                                         melnichenkot@fdazar.com




                                   -2-
Case 3:11-md-02244-K Document 817 Filed 12/01/17                Page 3 of 3 PageID 30717


                              CERTIFICATE OF SERVICE

      I certify that the foregoing instrument was served on all counsel of record by the Court’s

CM/ECF system, and was also forwarded to counsel for the Defendants by electronic mail on

December 1, 2017.



                                               /s/ W. Mark Lanier




                                             -3-
